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1     JULIAN HAMMOND (SBN 268489)
      jhammond@hammondlawpc.com
2     ADRIAN BARNES (SBN 253131)
      abarnes@hammondlawpc.com
3     POLINA BRANDLER (SBN 269086)
      pblandler@hammondlawpc.com
4     ARI CHERNIAK (SBN 290071)
      acherniak@hammondlawpc.com
5     HAMMONDLAW, P.C.
      1201 Pacific Ave, 6th Floor
6     Tacoma, WA 98402
      (310) 601-6766 (Office)
7     (310) 295-2385 (Fax)
8     FRANK S. HEDIN (SBN 291289)
      fhedin@hedinllp.com
9     HEDIN LLP
10    1395 Brickell Ave, Suite 610
      Miami, Florida 33131
11    (305) 357-2107 (Office)
      (305) 200-8801 (Fax)
12
      Attorneys for Plaintiffs and the Putative Classes
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14
15                                 UNITED STATES DISTRICT COURT

16                             NORTHERN DISTRICT OF CALIFORNIA

17
18    JONATHAN HOANG TO; JEFFRY HEISE;                         Case No. 3:24-CV-06447-WHO
      and JOSEPH MULL, individually and on
19    behalf of all others similarly situated,                 DECLARATION OF JULIAN
                                                               HAMMOND IN SUPPORT OF
20                                                             PLAINTIFFS’ OPPOSITION TO
                              Plaintiffs,                      DEFENDANT’S MOTION TO
21                                                             DISMISS, TRANSFER, OR STAY
                                                               UNDER THE FIRST-TO-FILE RULE
      v.
22
                                                               Judge:        Hon. William H. Orrick
23    DIRECTTOU, LLC, a Delaware Limited                       Courtroom: 2
      Liability Company                                        Hearing Date: March 5, 2025
24                                                             Hearing Time: 2:00 p.m.
                             Defendant.
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26
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28
       DECL. OF J. HAMMOND ISO PLAINTIFFS’ OPPOSITION TO DEF.’S MOTION TO DISMISS, TRANSFER, OR STAY UNDER THE
                                    FIRST-TO-FILE RULE - CASE NO 3:24-CV-06447-WHO
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                 I, Julian Hammond, declare as follows:
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                 1.      I am a member in good standing of the Bar of the State of California and counsel
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     of record for Plaintiffs and the putative Class. I make this declaration based on personal knowledge
4
     and, if called as a witness, I could and would testify competently to the matters set forth herein.
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                 2.      After Plaintiff Hoang To and Defendant DirectToU, LLC entered into a Class
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     Action Settlement Agreement, Defendant, on October 24, 2024, moved the court in the related
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     action Feller v. Alliance Entertainment, LLC, No. 24-cv-61444-RAR (S.D. Fla.) (the “Feller
8
     Action”) to stay the Feller Action pending resolution of the motion for preliminary approval of the
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     Class Action Settlement in this action, and on November 12, 2024, the court in Feller granted
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     Defendant’s motion, staying the Feller Action pending the approval process in this case and
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     administratively closing the Feller Action.
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                 3.      Pursuant to the Court’s Order denying Plaintiff Hoang To’s Motion for
13
     Preliminary Approval, Plaintiff Hoang To and Defendant met and conferred with Defendant
14
     regarding additional discovery as to the non-Meta VPPA claim.
15
                 4.      During the meet and confer process it became apparent to Plaintiff that additional
16
     discovery, including third party discovery, was needed in order to properly evaluate the non-Meta
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     pixel claims. However, the parties were unable to reach agreement on additional discovery, and
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     Plaintiff filed a motion on January 17, 2025, to open limited discovery focused on the non-Meta
19
     VPPA claim.
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                 5.      On January 28, 2025, after Defendant and Feller Plaintiffs informed the court of
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     the status of the instant case, the court presiding over the Feller Action extended the stay of the
22
     Feller Action.
23
                 6.      Counsel for Plaintiff Hoang To and Plaintiffs Heise and Feller (who were formerly
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     plaintiffs in the Feller Action) recently agreed to jointly prosecute this action on behalf of the
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     proposed Class and California subclass.
26
     ///
27
                 7.      On February 7, 2025, Plaintiff Hoang To filed a Third Amended Complaint,
28
     which, inter alia, adds Jeffry Heise and Joseph Mull (two of the three plaintiffs in the Feller
                                                               2
           DECL. OF J. HAMMOND ISO PLAINTIFFS’ OPPOSITION TO DEF.’S MOTION TO DISMISS, TRANSFER, OR STAY UNDER THE
                                        FIRST-TO-FILE RULE - CASE NO 3:24-CV-06447-WHO
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     Action) as Plaintiffs in this case, to serve alongside Plaintiff Hoang To as putative representatives
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     of the Class.1
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                8.      Also on February 7, 2025, promptly following the filing of the Third Amended
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     Complaint in this case, the plaintiffs in the Feller Action filed a Notice of Voluntary Dismissal in
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     the Feller Action pursuant to Federal Rule of Civil Procedure 41(a)(1). The Court dismissed the
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     Feller Action without prejudice the same day.
7
                9.      Prior to its dismissal, the Feller Action had not advanced past the pleadings stage.
8
     Defendant’s motion to dismiss pursuant to 12(b)(6) had not been decided (or even fully briefed),
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     Defendant had not produced any documents responsive to the plaintiffs’ first set of written
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     discovery requests, and no third party had formally responded to any of the subpoenas for
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     documents issued by the Feller plaintiffs.
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                10.     Plaintiffs in this case (Plaintiff Hoang To, the Plaintiff who initiated this action,
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     together with Plaintiffs Heise and Mull, formerly the plaintiffs in the now-dismissed Feller Action
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     and presently Plaintiffs in this case) are prepared to promptly serve, as soon as discovery
15
     commences, targeted discovery requests and third-party subpoenas similar to those previously
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     served in the Feller Action.
17
           I hereby declare under penalty of perjury of the laws of the United States that the foregoing
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     statements are true and correct. Executed on February 10, 2025.
19
20                                                         /s/ Julian Hammond
21                                                         Julian Hammond
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28      The third named plaintiff in the Feller Action, Douglas Feller, was not added as a named
      plaintiff in the instant case because he no longer wishes to be involved in this litigation.

                                                              2
          DECL. OF J. HAMMOND ISO PLAINTIFFS’ OPPOSITION TO DEF.’S MOTION TO DISMISS, TRANSFER, OR STAY UNDER THE
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